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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:08CR00054-07 JLH

JASON GILBERT

                                             ORDER

       Jason Gilbert has filed a motion pursuant to 28 U.S.C. § 2255 to vacate, set aside, or correct

his sentence. The Court orders the United States to respond to the motion within thirty days from

the entry of this Order.

       IT IS SO ORDERED this 16th day of December, 2013.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
